Case 3:17-cv-30031-MGM Document 44 Filed 07/20/18 Page 1 of 2 1¥
By Holyoke Medical Center

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HEALTH INFORMATION MANAGEMENT DEPARTMENT

This is to certify that the attached / y pages, is a true copy of the medical record of
this hospital concerning the care and treatment of: :

a.

     
 

 

Patient: ea
Covering the period: d2/ 0 § Ly! u
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Date eeper of the Records

Holyoke Medical Center

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575 Beech Street, Holyoke, MA 01040 » (413) 534-2500
HolyokeHealth.com

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Past Medical HistérpSe 3:1%7694,30031-MGM Document 44 Filed 07/20/18 Page 2 of 2
History Obtained From: Family eS @

 

 

History: None Stated
Allergies: Not Known,
Medications: ‘
Advanced Directives:
Impression 9730937
Reason for Transport: Trauma - Abrasion(s)
Secondary Impression: Other - No Secondary Impression ‘

Other Impressions:

 

Narrative 9730937
dispatched pri 1 te HPD for the male assulated.

‘Upon arrival to HPD lockup met by HPD Lt who States that the 12 y.o.who they now have in custody was involved in a altercation with HPD on the bridge afier he
resisted arrest and had to be taken down at gun point and now needs to be looked at.

PT was found to be a 12 yo. male cao x's 3 ic abrasions to right side of face and Swelling seen on left side of face after reisisting arrest with HPD.Pt states that
he was on the bridge with his friend who wanted to shoot himself when the police came and started to yell at him to get on the ground while at gun point, Pt states

he did not comply with HPD request and was physically taken down to the ground and placed in handcuffs by the HPD. Pt states he can recaii all the events and
denies any LOC. ore :

Pt was placed onto the stretcher and placed into the amblance. PT Vs obtained, *PEARL,+DECPBTLS seen: Right side of face pt was observed to have facial

abrasions and swelling seen to left side of face, -SOB,-CP,+N/V, lung sounds clear, {eft side ribs tender upon palpation, skin pink,warm and dry. NO other injuries
found other than the above stated c/c.

Pt trasported to HMC with HPD following. PT began to vomit approx S min PTA to HMG no other changes in pt condiotion. PT care and report given to Rn uponn
arrival to HMC.

 

 

 

Vitals
Time BP Puise RR SP02% GCS Performed By
20:00 120/80 (93) 90 14 100 15 Shea, Maura,AMR
20:00 124/94 (104) 87 16 100 15 Shea, Maura,AMR
Treatment and Response _9730937
PTA Time Medic Procedure
20:00 Shea, Maura,AMR Skin Assessment - Normal color, Warm temperature, Normal moisture.
20:00 Shea, Maura,AMR Pulse Oximetry - 100 % on Room Air
20:00 Shea, Maura AMR Vital Signs - BP: 124 /94, Pulse at: Radial, Pulse Rate: 87, Pulse Regularity: Regular, Pulse Strength:
Nermai, Respirations: 16, Respiration Depth: Normal, Respiration Effort: Normal.
20:00 Shea, Maura,AMR Glasgow Coma Scale - Eyes: 4, Verbal: 5, Motor: 6. Total : 15.
20:00 Shea, Maura,AMR Lung Sounds - Upper Right Lung: Clear, Upper Left Lung: Clear, Lower Right Lung: Clear, Lower Left
Lung: Clear.
20:00 Shea, Maura,AMR Skin Assessment - Normal color, Warm temperature, Normal moisture.
20:00 Shea, Maura,AMR Pulse Oximetry - 100 % on Room Air
20:00 Shea, Maura,AMR Vital Signs - BP: 120 7 80, Pulse at: Radial, Pulse Rate: 90, Pulse Regularity: Regular, Pulse Strength:
Normal, Respirations: 14, Respiration Depth: Normal, Respiration Effort: Normal.
20:00 Shea, Maura,AMR Glasgow Coma Scaie - Eyes: 4, Verbal: 5, Motor: 6. Total : 15,
20:00 Shea, Maura,AMR Long ss ~ Upper Right Lung: Clear, Upper Left Lung: Clear, Lower Right Lung: Clear, Lower Left
ung: Clear,
Patient Disposition 9730937
Mileage Scene: 0.0
Mileage Hospital: 4.6
Total Mileage: 46

Destination Decis: Closest Most Appropriate

 

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PCR ID 2014020821415161930 Date: 22014

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